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 5
 6                                   UNITED STATES DISTRICT COURT

 7                                   EASTERN DISTRICT OF CALIFORNIA

 8
 9   UNITED STATES OF AMERICA,                        Case No. 2:12-CR-0322 MCE

10                      Plaintiff,

11             v.                                     STIPULATION AND ORDER TO
                                                      CONTINUE THE STATUS CONFERENCE
12   TATYANA SHVETS, et. al.,                         FROM DECEMBER 3, 2015 TO MARCH
                                                      31, 2016
13                      Defendants.

14
15             IT IS HEREBY STIPULATED AND AGREED between the parties and their attorneys,

16   Heiko Coppolla, Assistant United States Attorney, Kenny N. Giffard, attorney for Aleksandr

17   Lastovski, Joseph A. Welch, attorney for Tatyana Shvets, that the status conference date of

18   Thursday, December 3, 2015 should be continued to March 31, 2016. The continuance is

19   necessary, as counsel are still reviewing discovery, meeting with the respective clients and

20   investigating information as well as researching various possible resolutions.

21             IT IS SO STIPULATED that the period of time from December 3, 2015 up to and

22   including March 31, 2016. Accordingly, the time between December 3, 2015 and March 31,

23   2016 should be excluded from the Speedy Trial calculation pursuant to Title 18, United States

24   Code, Section 3161(h)(7)(B)(iv) and Local Code T-4 for defense preparation.

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                             STIPULATION AND ORDER TO CONTINUE STATUS CONFERENCE
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 1   The parties stipulate that the ends of justice served by granting this continuance outweigh the best
 2   interests of the public and the defendant in a speedy trial. 18 U.S.C. Section 3161(h)(7)(A).
 3
            December 2, 2015                        /s/ Joseph A. Welch for
 4                                                  KENNY N. GIFFARD
                                                    Attorney for Alexsandr Lastovskiy
 5
 6          December 2, 2015                         /s/ Joseph A. Welch
                                                    JOSEPH A. WELCH
 7                                                  Attorney for Tatyana Shvets
 8
            December 2, 2015                         /s/ Joseph A. Welch for
 9                                                  HEIKO COPPOLA
                                                    Attorney for the United States
10
11
                                                   ORDER.
12
            The status conference presently set for December 3, 2015 at 9:00 A.M., is hereby
13
     continued to March 31, 2016 at 9:00 A.M., and time under the Speedy Trial Act will be excluded
14
     from December 3, 2015 through March 31, 2016 pursuant to Title 18, United States Code,
15
     Section 3161(h)(7)(B)(iv) and Local Code T-4 for defense preparation, based on the
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     representations of the parties in their stipulation. The Court finds that the ends of justice served
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     by granting this continuance outweigh the best interests of the public and the defendant in a
18
     speedy trial.
19
            IT IS SO ORDERED.
20
     Dated: December 2, 2015
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                                                       2
                             STIPULATION AND ORDER TO CONTINUE STATUS CONFERENCE
